Case 1:15-cr-20473-KMM Document 514 Entered on FLSD Docket 02/28/2019 Page 1 of 4




                         UN
                          ITEDSTATESD
                                    ISTR
                                       ICTCOURT
                        SOUTHERND
                                ISTR
                                   ICTOFFLOR
                                           IDA


                          CASEN
                              o.15
                                 -CR-
                                    20473
                                        -UNGARO
    U
    nit
      edS
        tat
          eso
            fAm
              eri
                ca,              :
          P
          lain
             ti
              ff                 :
    V
    s.                           :
    MATTHEWGREER                 :
          D
          efe
            nda
              nt.                :
    ................


             MATTHEWGREER’SUNOPPOSED MOT
                                       IONFORTRAVEL

          W
          ithou
              tob
                jec
                  tionf
                      romth
                          egov
                             ernm
                                ento
                                   rpr
                                     oba
                                       tion,M
                                            at
                                             thew G
                                                  ree
                                                    rre
                                                      spe
                                                        ctf
                                                          ully

    r
    equ
      est
        spe
          rmi
            ssionto
                  tra
                    velin
                        ter
                          nat
                            ion
                              al
                               lyf
                                 romA
                                    ugu
                                      st28
                                         ,2019th
                                               roug
                                                  hSe
                                                    ptemb
                                                        er9
                                                          ,2019.

    I
    nsuppo
         rto
           fth
             isr
               equ
                 est
                   ,Mr
                     .Gr
                       eersubm
                             it
                              sth
                                efo
                                  llow
                                     ing
                                       :

          O
          nJa
            nua
              ry27
                 ,2017
                     ,Mr
                       .Gr
                         eersu
                             rre
                               nde
                                 redtoth
                                       eUn
                                         ite
                                           dSt
                                             ate
                                               sMa
                                                 rsh
                                                   ala
                                                     ndb
                                                       ega
                                                         n

    s
    erv
      ingh
         iss
           ent
             enc
               e.Du
                  ringh
                      ist
                        imeinc
                             ustody
                                  ,Mr
                                    .Gr
                                      eerw
                                         asno
                                            tth
                                              esub
                                                 jec
                                                   tofa
                                                      ny

    in
     fra
       ct
        ion
          sord
             is
              cip
                lin
                  arya
                     ction
                         s.T
                           oth
                             econ
                                tra
                                  ry,w
                                     hil
                                       ein
                                         car
                                           cer
                                             ate
                                               d,M
                                                 r.G
                                                   ree
                                                     rsu
                                                       cce
                                                         ssf
                                                           ully

    c
    omp
      le
       teda
          nin
            ten
              siv
                etr
                  eatm
                     entp
                        rog
                          ram
                            ,andw
                                asr
                                  ele
                                    ase
                                      dfr
                                        omth
                                           eFe
                                             der
                                               alP
                                                 risonC
                                                      ampin

    Mon
      tgom
         ery
           ,Al
             abam
                aonA
                   pri
                     l20
                       ,2018
                           .

          A
          fte
            rhi
              sre
                lea
                  se,M
                     r.G
                       ree
                         rse
                           rve
                             dth
                               erem
                                  aind
                                     ero
                                       fhi
                                         sse
                                           nte
                                             ncea
                                                spa
                                                  rto
                                                    fth
                                                      e

    R
    esid
       ent
         ialR
            e-E
              nt
               ryp
                 rog
                   rama
                      tBa
                        nyanH
                            eal
                              thSy
                                 stem
                                    sin M
                                        iam
                                          i,F
                                            lor
                                              ida
                                                .Du
                                                  ringth
                                                       ist
                                                         ime
                                                           ,

    M
    r.G
      ree
        rwo
          rke
            datth
                eLo
                  tusH
                     ous
                       ewom
                          en’
                            ssh
                              elt
                                erin M
                                     iam
                                       i.H
                                         ere
                                           ceiv
                                              edh
                                                ighm
                                                   ark
                                                     sfo
                                                       r

    h
    isp
      art
        icip
           at
            iona
               ndpo
                  si
                   tiv
                     ebe
                       hav
                         iora
                            ndw
                              asg
                                ran
                                  tedhom
                                       evi
                                         si
                                          tat
                                            ionp
                                               riv
                                                 ile
                                                   ges
                                                     .Mr
                                                       .Gr
                                                         eer

    w
    asno
       tth
         esub
            jec
              tofa
                 nyin
                    fra
                      ction
                          sord
                             isc
                               ipl
                                 ina
                                   rya
                                     ct
                                      ion
                                        satB
                                           any
                                             an.O
                                                nAug
                                                   ust21
                                                       ,2018
                                                           ,

    M
    r.G
      ree
        rwa
          sre
            lea
              sed
                top
                  rob
                    at
                     iona
                        ndh
                          ass
                            inc
                              ecomp
                                  lie
                                    dfu
                                      llyw
                                         ith
                                           the
                                             term
                                                sandc
                                                    ond
                                                      it
                                                       ion
                                                         s

    o
    fhi
      ssup
         erv
           is
            ion
              .
Case 1:15-cr-20473-KMM Document 514 Entered on FLSD Docket 02/28/2019 Page 2 of 4




          O
          ntw
            ose
              par
                ateo
                   cca
                     sion
                        s(O
                          ctob
                             er13
                                ,2016
                                    ,and O
                                         ctob
                                            er26
                                               ,2018
                                                   ),M
                                                     r.G
                                                       ree
                                                         r

    p
    rev
      iou
        slyr
           equ
             est
               eda
                 nd w
                    asg
                      ran
                        tedp
                           erm
                             iss
                               iontot
                                    rav
                                      elf
                                        romth
                                            e Cou
                                                rt
                                                 .Se
                                                   eDE338
                                                        ,339,

    510
      ,511. M
            r.G
              ree
                rfu
                  llyc
                     omp
                       lie
                         dwi
                           tha
                             llt
                               erm
                                 sandc
                                     ond
                                       it
                                        ion
                                          simpo
                                              sedf
                                                 orth
                                                    isp
                                                      re-
                                                        app
                                                          rov
                                                            ed

    t
    rav
      el
       .

          M
          r.G
            ree
              r’sr
                 equ
                   estf
                      orin
                         ter
                           nat
                             ion
                               alt
                                 rav
                                   eli
                                     sfo
                                       rth
                                         epu
                                           rpo
                                             seo
                                               ftr
                                                 ave
                                                   ling w
                                                        ithh
                                                           is

    s
    ign
      if
       ica
         nto
           the
             rtoa
                tte
                  nda w
                      edd
                        inginP
                             erug
                                ia
                                 ,It
                                   aly
                                     .Mr
                                       .Gr
                                         eerw
                                            il
                                             lflyto M
                                                    ila
                                                      n,I
                                                        ta
                                                         ly on

    A
    ugu
      st28
         ,2019a
              ndw
                il
                 ltr
                   ave
                     lby
                       tra
                         intoP
                             erug
                                ia
                                 .Mr
                                   .Gr
                                     eerw
                                        il
                                         lre
                                           tur
                                             nto M
                                                 ila
                                                   nby
                                                     tra
                                                       ina
                                                         nd

    t
    rav
      elto M
           iam
             ionS
                ept
                  emb
                    er9
                      ,2019
                          .Th
                            eit
                              ine
                                raryh
                                    asb
                                      eenp
                                         rov
                                           ide
                                             dtop
                                                rob
                                                  at
                                                   iona
                                                      ndtoth
                                                           e

    g
    ove
      rnm
        ent
          .

          W
          eha
            vec
              onf
                err
                  edw
                    ithA
                       ssi
                         sta
                           ntU
                             nit
                               edS
                                 tat
                                   esA
                                     tto
                                       rney M
                                            ich
                                              aelSh
                                                  erw
                                                    ina
                                                      ndS
                                                        r.U
                                                          .S.

    P
    rob
      at
       ionO
          ff
           ice
             rJo
               hnC
                 arl
                   es,n
                      ei
                       the
                         rofw
                            homob
                                jec
                                  t.

          Apr
            opo
              sedo
                 rde
                   risa
                      tta
                        che
                          dfo
                            rth
                              eCou
                                 rt
                                  ’sc
                                    ons
                                      ide
                                        rat
                                          ion
                                            .

                                 R
                                 esp
                                   ect
                                     ful
                                       lysubm
                                            it
                                             ted
                                               ,

                                 KOBRE &K
                                        IM,LLP

                                 A
                                 tto
                                   rne
                                     ysfo
                                        rMa
                                          tth
                                            ewG
                                              ree
                                                r

                                 201SouthBis
                                           cayneB ou
                                                   lev
                                                     ard
                                                       ,Su
                                                         ite1900
                                  Miam
                                     i,Flo
                                         rida33131
                                  Te
                                   l:(
                                     305)967-6100

                                 /s
                                  /A d
                                     rianaRivier
                                               e-Badel
                                                     l
                                 Ma
                                  tthewI.M  enche
                                                l(FBN 12043 )
                                 Adr
                                   ianaR ivi
                                           ere-B ad
                                                  el
                                                   l(FBN30572  )
                                 Kobre &K imLLP
                                 201Sou thB is
                                             cayneB ou
                                                     levar
                                                         d,Suite1900
                                  Miami
                                      ,F lor
                                           ida33131
                                 T e
                                   l:(305)967-6100
                                 Email
                                     :a d
                                        riana.
                                             rive
                                                re-bade
                                                      ll@ kobre
                                                              kim.com
                                 Email
                                     :m atthew.menche
                                                    l@ kob
                                                         r ek
                                                            im.com
Case 1:15-cr-20473-KMM Document 514 Entered on FLSD Docket 02/28/2019 Page 3 of 4




                            CERT
                               IFICATE OFSERV
                                            ICE

          Ih
           ere
             byc
               ert
                 ify
                   tha
                     tonF
                        ebr
                          uary28,2019
                                    ,Ie
                                      lec
                                        tron
                                           ica
                                             llyf
                                                ile
                                                  dth
                                                    efo
                                                      reg
                                                        oingP
                                                            ropo
                                                               sed
    Mo
     tionf
         orT
           rav
             elw
               itht
                  heC
                    ler
                      kofth
                          eCou
                             rtu
                               singCM
                                    /ECF
                                       ,wh
                                         ichw
                                            il
                                             lge
                                               ner
                                                 ateN
                                                    oti
                                                      ceso
                                                         f
    E
    lec
      tron
         icF
           il
            ingf
               orth
                  efo
                    llow
                       ingc
                          urr
                            entc
                               oun
                                 selo
                                    fre
                                      cor
                                        d:


                                 SERV
                                    ICEL
                                       IST

     Mi
      chaelR.Sherw
                 in
     Mi
      chael
          .she
             rwin@usdo
                     j.g
                       ov
     305-
        961-9067

     Mi
      chaelN.B e
               rge
                 r
     mi
      chael
          .be
            rger@usdo
                    j.gov
     305-
        961-9445

     Eve
       lynBal
            toda
               no-
                 She
                   e han
     eve
       lyn
         .shee
             han@u
                 sdo
                   j.gov
     305
       -961-
           9125

     Elo
       isaD e
            lg adoFer
                    nande
                        z
     elo
       isa.d
           .fernand
                  ez@ u
                      sdo
                        j.g
                          ov
     305-961-9025

     Kar
       enRo ch
             lin
     kar
       en.ro
           chl
             in@ u
                 sdo
                   j.g
                     ov
     305-961
           -9234

     USAt
        torn
           ey’
             sOff
                ice
     99NE4thSt
             .
     Mi
      ami
        ,FL33132

     A
     tto
       rne
         ysfo
            rth
              eUn
                ite
                  dSta
                     teso
                        fAm
                          eri
                            ca




    D
    ate
      d:F
        ebr
          uary28
               ,2019                  /
                                      s/Ad
                                         ria
                                           naRiv
                                               ier
                                                 e-Bad
                                                     ell
                                      A
                                      dri
                                        anaRiv
                                             ier
                                               e-Bad
                                                   el
                                                    l
Case 1:15-cr-20473-KMM Document 514 Entered on FLSD Docket 02/28/2019 Page 4 of 4




                         UN
                          ITEDSTATESD
                                    ISTR
                                       ICTCOURT
                        SOUTHERND
                                ISTR
                                   ICTOFFLOR
                                           IDA


                          CASEN
                              o.15
                                 -CR-
                                    20473
                                        -UNGARO
    U
    nit
      edS
        tat
          eso
            fAm
              eri
                ca,              :
          P
          lain
             ti
              ff                 :
    V
    s.                           :
    MATTHEWGREER                 :
          D
          efe
            nda
              nt.                :
    ................



           ORDERONDEFENDANT
                          ’SUNOPPOSED MOT
                                        IONFORTRAVEL

    T
    hism
       att
         eri
           sbe
             for
               eth
                 eCou
                    rtonth
                         ede
                           fend
                              antM
                                 at
                                  thewG
                                      ree
                                        r’sU
                                           noppo
                                               sed Mo
                                                    tionfo
                                                         r

    T
    rav
      el
       .Fo
         rgoodc
              aus
                e,i
                  the
                    reby
                       :

          ORDERED AND AD
                       JUDGEDth
                              atth
                                 e mo
                                    tioni
                                        s GRANTED
                                                .Mr
                                                  .Gr
                                                    eersh
                                                        al
                                                         lbe

    p
    erm
      it
       tedtot
            rav
              elin
                 ter
                   nat
                     ion
                       al
                        lyf
                          romA
                             ugu
                               st28
                                  ,2019th
                                        roug
                                           hSe
                                             ptemb
                                                 er9
                                                   ,2019
                                                       .




          DONEANDORDEREDth
                         is_____d
                                ayo
                                  f                     ,2019
                                                            .




                                      ______________________________________
                                      HONORABLEURSULAUNGARO
                                      UNITEDSTATESD   ISTRICTJUDGE


    Cop
      iesF
         urn
           ish
             edto
                :
    Coun
       selo
          fRe
            cor
              d
